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and the Proposed Class

                    UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION
RICHARD KADREY, et al.,               CASE NO. 3:23-cv-03417-VC

       Individual and Representative Plaintiffs,       DECLARATION OF MAXWELL V. PRITT
                                                       IN SUPPORT OF PLAINTIFFS’ MOTION
                                                       TO AMEND CASE MANAGEMENT
  v.                                                   SCHEDULE

META PLATFORMS, INC.,

                                     Defendant.

       DECLARATION OF MAXWELL V. PRITT IN SUPPORT OF PLAINTIFFS’ MOTION TO AMEND CASE
                                                               MANAGEMENT SCHEDULE
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       I, Maxwell V. Pritt, declare as follows:

       1.       I am an attorney duly licensed to practice in the State of California. I am a partner
in the San Francisco, California office of Boies Schiller Flexner, LLP (“BSF”), counsel for

Plaintiﬀs in the above-captioned action. I have personal knowledge of the matters stated herein

and, if called upon, I can competently testify thereto. I make this declaration pursuant to 28 U.S.C.
§ 1746 and Local Rule 6-3 in support of Plaintiﬀs’ Motion to Amend Case Management Schedule.

       2.       Under the initial case management schedule entered on January 23, 2024, ECF

No. 87, the close of fact discovery is set for September 30, 2024 (modified by the Court on

September 20, 2024, to add 14 days to take depositions that could not be scheduled before

September 30, see ECF No. 163), with deadlines for expert discovery, motions for summary

judgment, and Daubert motions thereafter, including opening reports on October 18, 2024 (ECF
No. 87).
       3.       There have been no other time modiﬁcations in the case, whether by stipulation or

Court order.

       4.       No trial date has been entered.

       5.       On September 24, 2024, BSF appeared as counsel for Plaintiffs in this matter.

BSF promptly initiated a review of the case file. In light of that review and the impending
deadlines for the close of fact discovery and exchange of opening expert reports, the next day,

September 25, 2024, Plaintiffs proposed an amended case management schedule to counsel for

Defendant Meta Platforms, Inc. (“Meta”), which BSF believes is designed to provide adequate

time for rectifying deficiencies in the record on the issue of fair use while simultaneously

ensuring that the case proceeds expeditiously and diligently.
       6.       The parties met and conferred on Zoom on September 26, 2024, regarding

Plaintiﬀs’ proposed amended case management schedule. During that meet and confer, Plaintiffs

also proposed “interim” fact discovery deadlines to help ensure the proposed case schedule could

be met. The parties have continued to exchange emails on Plaintiffs’ proposed amended case



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management schedule and interim deadlines, and related issues, but they have been unable to
reach a mutual agreement on any of the requested extensions.

       7.      Specifically, on September 25, 2024, I provided Meta’s counsel with the proposed

amended case management schedule during a call at 1:20 PM PST. Shortly thereafter, I also

emailed Meta’s counsel that proposed schedule and asked to discuss the proposal that same day

or, if they were not available, the following morning. This proposed schedule sought to present a
reasonable modification in good faith, considering that BSF had recently joined the case and,

upon a swift review of the record, determined that additional discovery was necessary on the

issue of fair use, which BSF assumed was the only issue to be addressed at summary judgment,

as the Court stated it assumed during the hearing on September 20, 2024 on Plaintiffs’ Motion to

Enlarge Discovery Cut-off, see also ECF No. 156.
       8.      On September 25, 2024, at 9:06 PM PST, I followed up on my initial proposal

regarding amendments to the case management schedule, as I had not received a response from

Meta’s counsel regarding a date or time to meet and confer. Meta responded the following day,

on September 26, 2024, and the parties scheduled a meet and confer that evening via Zoom.

       9.      During the September 26, 2024 meet and confer, Meta’s counsel was unwilling to
discuss any extensions to the initial case management schedule unless Plaintiffs detailed the
specific additional discovery that Plaintiffs’ would seek. Although BSF had just appeared in the

case two days earlier, BSF provided Meta’s counsel with an initial list of categories of discovery

deficiencies that were part of existing requests and additional discovery that BSF believed were

needed to address the fair-use issue.
       10.     These discovery deficiencies included: (1) Meta’s failure to provide complete

source code and technical data for all LLaMa models; (2) Meta’s refusal to add documents

custodians beyond the 10 it self-selected, including Nikolay Bashylov as a document custodian

even though he is responsible for copying and downloading LibGen and other datasets to train

Meta’s LLMs or any of the key licensing figures from Meta’s Business Development group;



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(3) Meta’s privilege redactions in key documents on internal discussions about Meta’s use of
copyrighted works from shadow libraries and torrent systems; and (4) Meta’s lack of discovery

on various financial, technical, and executory materials.

        11.     Additionally, in light of the Court’s request during the September 20, 2024

hearing that Meta identify the issues it intends to raise on summary judgment, Plaintiffs asked

Meta to clarify its position regarding the scope of summary judgment and the affirmative
defenses it intends to raise.

        12.     In particular, I asked Meta’s counsel if Meta agreed with the Court’s assumption

stated on the record at the September 20, 2024 hearing that several liability issues were not in

dispute, quoting the Court’s precise statement. Meta responded that it did not agree with that

assumption and that it will dispute all of the issues the Court and Plaintiffs assumed would be
undisputed on summary judgment: (1) that the copyrighted works “were available on a

database”; (2) “that the database was not authorized to make them available”; (3) “[t]hat Meta

acquired them from that database”; (4) that “Meta fed the stuff from the database into the large

language model”; and (5) that “of course the large language model is for commercial use.” Sept.

20, 2024 Hr’g Tr. at 6:9-16.
        13.     Meta’s counsel also declined to identify whether it would pursue affirmative
defenses other than fair use on summary judgment, except once again obliquely referring to “an

issue” with standing. See also Sept. 20, 2024 Hr’g Tr. at 42:2-9. To ensure both parties are able

to develop a “proper record” for the Court on the fair-use issue, as well as liability and other

defenses that Plaintiffs understand will now be litigated on summary judgment, Plaintiffs urged
again to extend the initial case management deadlines as proposed to probe those issues, but no

agreement was reached.

        14.     Attached as Exhibit A is a true and correct copy of a September 25, 2024

interview of Meta CEO Mark Zucerberg appearing on The Verge, accessed at the following URL




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on September 30, 2024: https://www.theverge.com/24253481/meta-ceo-mark-zuckerberg-ar-
glasses-orion-ray-bans-ai-decoder-interview

       15.    Attached as Exhibit B is a true and correct copy of a transcript of the hearing held

in this matter on September 20, 2024.

       16.    Attached as Exhibit C is a true and correct copy of email exchanges between

Plaintiffs and Defendant’s attorneys, dated between September 25-26, 2024, and between
September 27-29, 2024.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on the

1st day of October 2024 in San Francisco, California.


                                               By:              /s/ Maxwell V. Pritt
                                                                    Maxwell V. Pritt




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